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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 TARGUS INTERNATIONAL LLC,

                       Plaintiff,
        v.
                                                Civil Action No. 20-464-RGA
 VICTORINOX SWISS ARMY, INC.,

                       Defendant.


                                    NOTICE OF SERVICE

       The undersigned hereby certifies that copies of (1) Victorinox’s Opening Claim

Construction Brief and (2) Appendix to Joint Claim Construction Brief were caused to be served

on January 12, 2021 upon the following:

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